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 15                       UNITED STATES DISTRICT COURT
 16                     CENTRAL DISTRICT OF CALIFORNIA
 17   JEFFREY POWERS et al.,                     Case No.: 2:22-cv-08357 DOC (JEMx)
 18              Plaintiffs,                     Hon. David O. Carter
 19   v.                                       NOTICE OF MOTION AND
 20
                                               UNOPPOSED MOTION FOR
      DENIS RICHARD MCDONOUGH, LEAVE TO FILE BRIEF OF
 21
      in his official capacity as Secretary of SWORDS TO PLOWSHARES AS
      Veterans Affairs, et al.,                AMICUS CURIAE;
 22
                                               MEMORANDUM OF POINTS AND
                   Defendants.                 AUTHORITIES
 23                                              [Proposed Order filed concurrently]
 24                                              Date:      TBD
 25
                                                 Time:      TBD
                                                 Place:     TBD
 26                                              Compl. filed:    Nov. 15, 2022
 27
                                                 Trial Date:      No trial date set

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  1   TO THE COURT, THE PARTIES, AND THEIR COUNSEL:
  2         PLEASE TAKE NOTICE that on a date and time to be determined by
  3   the Court, in Courtroom 10A of the Ronald Reagan Federal Building and U.S.
  4   Courthouse, located at 411 W. Fourth Street, Santa Ana, California 92701,
  5   Judge David O. Carter presiding, movant Swords to Plowshares, as proposed
  6   amicus curiae, will and hereby does move for leave to file an amicus brief in
  7   opposition to the Veterans Affairs Defendants’ motion to dismiss (ECF 37),
  8   which is currently under submission. A proposed Brief of Amicus Curiae is
  9   attached as the Exhibit.
 10         This Motion is based upon this Notice, the accompanying
 11   Memorandum of Points and Authorities, all judicially noticeable facts, all
 12   pleadings, records and files in this action, any argument on the motion, and
 13   any further material that the Court may properly consider.
 14         Before filing this motion, counsel for amicus contacted counsel for the
 15   parties to request consent to file this brief. Counsel for all Defendants
 16   consented to the filing
 17   Dated: October 6, 2023         Respectfully submitted,
 18                                  By:    /s/ Peter Perkowski
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  1               MEMORANDUM OF POINTS AND AUTHORITIES
  2                                   INTRODUCTION
  3         Movant and proposed amicus curiae Swords to Plowshares (“Swords”)
  4   is a community-based not-for-profit organization that represents the interests
  5   of veterans—particularly low-income veterans and veterans experiencing
  6   housing insecurity—through advocacy, public education, and direct
  7   representation before the Department of Veterans Affairs (“VA”) and other
  8   government agencies. In addition to legal work, Swords provides a range of
  9   supportive services, including case management, counseling, and support
 10   groups, to address their basic needs and promote overall health and
 11   wellbeing. Through its housing services, Swords helps unhoused veterans
 12   find emergency and temporary shelter and transitional housing, provides
 13   permanent supportive housing to 400 veterans, and offers rent support and
 14   eviction prevention services.
 15         Through this work, Swords has developed special knowledge and
 16   expertise about, among other things, veterans’ access to agency processes—
 17   including VA’s claims adjudication process—used to protect and vindicate
 18   veterans’ rights and obtain much-needed benefits. Based on that knowledge
 19   and expertise, as applied here, Swords concludes that neither VA’s claims
 20   adjudication process nor the Article I and Article III courts set up to review
 21   its decisions have the ability or authority to consider and resolve Plaintiffs’
 22   claims under the Rehabilitation Act. Swords offers this unique perspective
 23   with the hope and belief that it will assist the Court in deciding the Veterans
 24   Affairs Defendants’ motion to dismiss.
 25                                LEGAL STANDARDS
 26         Courts in this Circuit “‘exercise[] great liberality’ in permitting amicus
 27   briefs.” Becerra v. U.S. Dep’t of Interior, 381 F. Supp. 3d 1153, 1164 (N.D. Cal.
 28   2019) (quoting Woodfin Suite Hotels, LLC v. City of Emeryville, No. C 06-1254
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  1   SBA, 2007 WL 81911, at *3 (N.D. Cal. Jan. 9, 2017)); see Duronslet v. Cty. of L.A.,
  2   No. 2:16-cv-08993-ODW (PLAx), 2017 WL 5643144, at *1 (C.D. Cal. Jan. 23,
  3   2017) (“[T]his Court finds it ‘preferable to err on the side of’ permitting such
  4   briefs.”) (quoting Neonatology Assocs., P.A. v. CIR, 293 F.3d 123, 133 (3d Cir.
  5   2002)); see also Orders (ECF 56-59), Stockman v. Trump, No. 5:17-cv-01799-JGB
  6   (KKx) (C.D. Cal. Nov. 9, 2017) (granting several amici leave to file briefs).
  7         There are “‘no strict prerequisites’” for participation as amicus curiae;
  8   the submission need only be “‘useful to or otherwise desirable to the court.’”
  9   Duronslet, 2017 WL 5643144, at *1 (quoting In re Roxford Foods Litig., 790 F.
 10   Supp. 987, 997 (E.D. Cal. 1991)). Though neither the Federal Rules of Civil
 11   Procedure nor this District’s Local Rules provides guidelines for allowing or
 12   denying amicus briefs, such briefs normally are allowed “when (1) ‘a party is
 13   not represented competently or is not represented at all,’ (2) ‘the amicus has
 14   an interest in another case that may be affected by the holding in the present
 15   case,’ or (3) ‘the amicus can present unique information that can help the
 16   court in a way that is beyond the abilities the lawyers for the parties are able
 17   to provide.” AmeriCare MedServices, Inc. v. City of Anaheim, No. 8:16-cv-1703-
 18   JLS (AFMx), 2017 WL 1836354, at *1 n.3 (C.D. Cal. Mar. 28, 2017) (quoting
 19   Gabriel Techs. Corp. v. Qualcomm Inc., No. 08CV1992 AJB (MDD), 2012 WL
 20   849167, at *4 (S.D. Cal. Mar. 13, 2012)). The Court therefore has “‘broad
 21   discretion to appoint amici curiae.’” Id. (quoting Hoptowit v. Ray, 682 F.2d
 22   1237, 1260 (9th Cir. 1982), abrogated on other grounds by Sandin v. Conner, 515
 23   U.S. 472 (1995)). An amicus can be particularly useful and important “in cases
 24   of general public interest by making suggestions to the court, by providing
 25   supplementary assistance to existing counsel, and by insuring a complete and
 26   plenary presentation of difficult issues to that the court may reach a proper
 27   decision.” Newark Branch, N.A.A.C.P. v. Town of Harrison, 940 F.2d 792, 808 (3d
 28   Cir. 1991).
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  1                                    ARGUMENT
  2         The Court should grant leave to file the amicus brief attached to this
  3   motion because at least two of the AmeriCare factors are met here. First, the
  4   brief presents unique information helpful to the Court on the legal issues
  5   under consideration. Second, a ruling that 38 U.S.C. § 511 deprives the Court
  6   of jurisdiction over Plaintiffs’ Rehabilitation Act claims could adversely affect
  7   the ability of Swords and other veterans advocacy groups to bring future
  8   claims in Article III courts challenging systemic policies and practices of VA.
  9         A.    The proposed amicus brief would assist the Court.
 10         In considering a request for leave, “[t]he touchstone is whether the
 11   amicus is ‘helpful.’” California v. U.S. Dep’t of Labor, No. 2:13-cv-02096-KJM-
 12   DAD, 2014 WL 12691095, at *1 (E.D. Cal. Jan. 14, 2014) (quoting Hoptowit, 682
 13   F.2d at 1260). Swords’s proposed amicus brief will be helpful because it
 14   would aid the Court in resolving the Veterans Affairs Defendants’ motion to
 15   dismiss.
 16         Specifically, the amicus addresses a key issue in dispute on the question
 17   of whether § 511 divests this Court of jurisdiction. Based on decades of
 18   experience in handling legal claims on behalf of veterans—including both
 19   individual benefits claims as well as challenges to systemic policies and
 20   practices—Swords can speak directly to the question of whether VA’s claims
 21   adjudication process and the Article I and Article III courts reviewing benefits
 22   decision are capable of or authorized to consider and decide Plaintiffs’
 23   Rehabilitation Act claims. Thus, Swords’s expertise in this area, as reflected in
 24   the proposed brief, will aid the Court in deciding the motion to dismiss.
 25         B.    The Court’s decision could adversely affect Swords.
 26         In addition, the Court should grant leave because a decision on the
 27   Veterans Affairs Defendants’ motion to dismiss could adversely affect
 28   Swords. In particular, a ruling that § 511 deprives this Court of jurisdiction
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  1   would make it more difficult for Swords and other veterans advocacy groups
  2   to challenge VA’s systemic, non-adjudicatory practices in Article III courts. In
  3   fact, as set out in the amicus brief, dismissing under § 511 would leave
  4   Swords and others without a forum to bring such claims.
  5                                  CONCLUSION
  6         Because Swords offers unique information and perspective that will
  7   assist the Court in deciding the motion under consideration, and because
  8   Swords could be adversely affected by the Court’s ruling on the motion, the
  9   Court should grant the motion for leave to file the brief attached as the
 10   Exhibit.
 11

 12   Dated: October 6, 2023        Respectfully submitted,
 13
                                    By:    /s/ Peter Perkowski
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